Case 22-12668-mdc   Doc 132-3 Filed 02/06/23 Entered 02/06/23 09:48:41   Desc
                             Exhibit Page 1 of 8




                        Exhibit “C”
Case
 Case10-13614-mdc
      22-12668-mdc Doc
                    Doc60
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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

    RE: TARANI JOHNSON                                   BKNo.: 10-13614 mdc




     ORDER DISMISSIN G CHAFTE R 1 3 CASE AND SETTIN G DEADLIN E FOR
      APPLICATION S FOR ALLOWANC E OF ADMINISTRATIV E EXPENSE S


            AND NOW, consideration of the Motion to Dismiss Case filed by William C.
    Miller, Standing Trustee ("the Trustee"), and after notice and hearing, it is hereby
    ORDERED that:

     1. This chapter 13 bankruptcy case is DISMISSED.

    2. Coimsel for the Debtor shall file a master mailing list with the Clerk of the Bankruptcy
    Court if such has not been previously filed.

    3. Any wage orders previously entered are VACATED.

     4. Pursuant to 11 U.S.C. §349(b](3], the undistributed chapter 13 plan payments in the
    possession of the Trustee shall not revest in the entity in which such property was vested
    immediately before the commencement of the case. All other property of the estate shall
    revest pursuant to II U.S.C.§349(b)(3J.

    5. All applications for allowance of administrative expense {including applications for
    allowance of professional fees) shall be filed within twenty [20] days of the entry of this
    Order.

    6. Counsel for the Debtor shall serve this Order by first class mail, postage prepaid, on
    all interested parties within (5) days of the entry of this Order. Counsel shall file a
    Certification of Service confirming that such service has been effected within fifteen (15)
    days of the entry of this Order.



    Date:                                                                J. C^
                                                  Magd^me D. Coleman
                                                  U.S. Bankruptcy Judge
  Case
   Case11-11408-mdc
        22-12668-mdc Doc
                      Doc172
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              Uni'ted States Bankruptcy Court
            For the Eastern District of Pennsylvania


   In re:                                      Chapter 13
TARANI A JOHNSON

  Debtor(s)                                   Bankruptcy No.      1111408


              Order Dismissing Chapter 13 Case and
          Directing Counsel to File Master Mailing List


  AND NOW, this /— day of      A/^i/^/tiJ^C^    , 201^upon
  consideration of the Motion to Dismiss filed by William C. Miller,
  Standing Trustee, this case is dismissed, and it is further ORDERED,
  that RQMJUJD G. MCNBIii /fj/iw-n ^^a^<^/e-/C counsel for the debtor,
  shall file a master mailing list with the clerk of the Bankruptcy
  Court, currently updated (if such has not been previously filed);
  and it is further
  ORDERED, that any wage orders are hereby VACATED.




                                   /yJ^i,^   (pd.
                             Hqg^ Magdeline D. Coleman
                                            United States Bankruptcy Judge
  William C. Miller, Trustee
  P.O. Box 40119
  Philadelphia PA 19106-0119


   Counsel for Debtor(s)
    RONALD G. MCNEIL
    13 3 3 RACE STREET
    PHILADELPHIA    PA    19107-158



  Debtor(s)
    TARANI A    JOHNSON
    DBA SILVER APPLE LLC
    22 85 BRYN MAWR AVENUE
    PHILADELPHIA PA 19131
       Case
        Case22-12668-mdc
             12-20451-mdc Doc
                           Doc132-3
                               142 Filed
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                          DISCHARGEExhibit
                                      OF DEBTOR
                                            Page 4 of Page
                                                      8    1 of 2
B18 (Official Form 18) (12/07)

                                    United States Bankruptcy Court
                                          Eastern District of Pennsylvania
                                                Case No. 12−20451−mdc
                                                      Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Tarani A. Johnson
    2285 Bryn Mawr Avenue
    Philadelphia, PA 19131
Social Security No.:
   xxx−xx−3776
Employer's Tax I.D. No.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 3/13/14                                              Magdeline D. Coleman
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
       Case
        Case22-12668-mdc
             12-20451-mdc Doc
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                                      OF DEBTOR
                                            Page 5 of Page
                                                      8    2 of 2
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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      22-12668-mdc Doc
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                                  UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                         : Chapter 13
                 Tarani A. Johnson,                             :
                                Debtor.                         : Bankruptcy No. 18-17342-MDC


                                                  ORDER
            AND NOW, upon consideration of the Chapter 13 Standing Trustee’s Motion to Dismiss with

 Prejudice Pursuant to 11 U.S.C. Sections 105, 349 and 1307 (the “Motion to Dismiss”), 1 seeking

 dismissal of the bankruptcy case of Tarani A. Johnson ( the “Debtor”) with prejudice, and after notice and

 a hearing held on May 16, 2019 and July 22, 2019, and for the reasons stated by this Court at the hearing,

 it is hereby ORDERED that:

            1.        The Motion to Dismiss is GRANTED without prejudice.

            2.        The Court retains jurisdiction to address all issues related to the representation of the

 Debtor in this case by her counsel, Joshua L. Thomas of Joshua L. Thomas & Associates.


 Dated: July 22, 2019
                                                                    MAGDELINE D. COLEMAN
                                                                    CHIEF UNITED STATES BANKRUPTCY JUDGE

 Joshua L. Thomas, Esquire
 Joshua L. Thomas & Associates
 1110 Pocopson Road
 P.O. Box 415
 Pocopson, PA 19366

 Tarani A. Johnson
 2285 Bryn Mawr Avenue
 Philadelphia, PA 19131

 William C. Miller, Esquire
 Chapter 13 Trustee
 P.O. Box 1229
 Philadelphia, PA 19105



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     Bankr. Docket No. 59.
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 United States Trustee
 Custom House
 200 Chestnut Street, Suite 502
 Philadelphia, PA 19106-2912

 Harry B. Reese, Esquire
 Powers Kirn, LLC
 8 Neshaminy Interplex, Suite 215
 Trevose, PA 19053

 Jerome B. Blank, Esquire
 Phelan Hallinan Diamond & Jones LLP
 1617 John F. Kennedy Boulevard, Suite 1400
 Philadelphia, PA 19103




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Case
 Case22-12013-mdc
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


In re                                              :   Chapter   13

                                                   :
Tarani A. Johnson
                                                   :

                          Debtor                   :   Bankruptcy No. 22-12013MDC


                                               ORDER


                AND NOW, it is ORDERED that since the debtor(s) have failed to

timely file the documents required by the order dated August 1, 2022, this case

is hereby DISMISSED.




        August 29, 2022



                                                       Magdeline D. Coleman
                                                       Chief U.S. Bankruptcy Judge



Missing Documents:
                                   Matrix List of Creditors
                                   Certificate of Credit Counseling
                                   Chapter 13 Plan
                                   Ch 13 Income Form 122C-1
                                   Means Test Calculation 122C-2, if applicable
                                   Schedules A/B-J
                                   Statement of Financial Affairs
                                   Summary Assets & Liabilities B106
bfmisdoc
